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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                   FORT WAYNE DIVISION


JOHN DOE                                       )
                 Plaintiff                     )
                                               )
   v.                                          )   No. 1:20-cv-39-HAB
                                               )
INDIANA WESLEYAN UNIVERSITY                    )
          Defendant                            )



                             ORDER FOR SETTLEMENT CONFERENCE

        The parties to this action and their attorneys are hereby directed to appear telephonically

before Magistrate Judge Susan L Collins on April 7, 2020 at 9:00 am (Fort Wayne time), for a

settlement conference to consider the settlement posture of the parties and such other matters as may

aid in the disposition of the case. An insured party shall appear by a representative of the insurer who

is authorized to discuss and make recommendations relating to settlement. An uninsured corporate

party shall appear by a representative authorized to discuss and make recommendations relating to

settlement.

        To assist the court and to facilitate the conduct of the settlement conference, lead counsel for
each side shall submit via e-mail to collins_chambers@innd.uscourts.gov, a "Confidential Statement

of the Case" on or before the end of the business day on April 6, 2020 which briefly states: 1) The

legal and factual contentions of the respective parties; 2) the factors considered in arriving at the

current settlement posture; 3) the status of settlement negotiations to date; and 4) the future estimated

attorney fees and expenses that counsel reasonably believe will be incurred through trial. The

Confidential Statement is not to exceed ten (10) pages.

               Dated this 2nd day of April, 2020

                                                       s/Susan L. Collins
                                                       MAGISTRATE JUDGE
                                                       UNITED STATES DISTRICT COURT
